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                      UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF NEW YORK
__________________________________________
                                           :
NAOMI GONZALES,                            :
                                           :
                  Plaintiff,               :
                                           : Case No. 5:18-cv-00235-MAD-ATB
      -against-                            :
                                           :
AGWAY ENERGY SERVICES, LLC,                :
                                           :
                  Defendant.               :
__________________________________________:

                   NOTICE OF MOTION TO SUBSTITUTE PLAINTIFF

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

Declaration of Todd S. Garber, Plaintiff will move this Court, on a date and at a time to be

determined by the Court, for an Order pursuant to Rule 25 of the Federal Rules of Civil

Procedure to substitute Antonio Martinez, in his capacity as executor of Naomi Gonzales’ estate,

for Naomi Gonzales as Plaintiff.

       In compliance with Local Rule 7.1, Plaintiff’s counsel notified Defendant’s counsel of

Plaintiff Naomi Gonzales’ passing on November 5, 2020, and discussed Plaintiff’s counsel’s

intent to substitute Plaintiff. On November 6, 2020, the parties submitted a joint letter to

Magistrate Judge Baxter, notifying the Court of Ms. Gonzales’ death. See ECF No. 115. During

a telephone conference with Magistrate Judge Baxter held on November 18, 2020, Plaintiff’s

counsel notified the Court that we anticipated the filing of a motion for substitution. See

November 18, 2020 Text Minute Entry. On November 19, 2020, counsel for the parties received

an email from Nicole Eallonardo, Courtroom Deputy to Magistrate Judge Baxter, advising that

the motion be directed to Magistrate Judge Baxter and that “[t]here is no need for a further pre-

motion conference in relation to those motions.”



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Dated: February 3, 2021
                                   By:   s/ Todd S. Garber
                                         Todd S. Garber
                                         Chantal Khalil
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                                         Attorneys for Plaintiff
                                         and the Putative Class




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2021, I electronically filed the foregoing motion and

its supporting papers with the Clerk of the District Court using the CM/ECF system, which sent

notification of such filings to all counsel of record.

                                                            s/ Todd S. Garber
                                                            Todd S. Garber




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